

Urban D.C. Inc. v 29 Green St. LLC (2022 NY Slip Op 03464)





Urban D.C. Inc. v 29 Green St. LLC


2022 NY Slip Op 03464


Decided on May 26, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: May 26, 2022

Before: Kern, J.P., Oing, Singh, Moulton, Scarpulla, JJ. 


Index No. 153008/20 Appeal No. 16015 Case No. 2021-04445 

[*1]Urban D.C. Inc., Plaintiff-Appellant,
v29 Green Street LLC, et al., Defendants, McGowan Builders, Inc., et al., Defendants-Respondents.


Law Offices of Matthew T. Worner, White Plains (Matthew T. Worner of counsel), for appellant.
Grae &amp; Grae, LLC, New York (Previn A. Waran of counsel), for respondents.



Order, Supreme Court, New York County (Nancy M. Bannon, J.), entered May 11, 2021, which denied plaintiff's motion to vacate an order, same court and Justice, entered February 23, 2021, which, among other things, dismissed the complaint and the response to defendants' counterclaims without prejudice, unanimously affirmed, without costs.
The court providently exercised its discretion by declining to vacate its prior order, entered on plaintiff's default (CPLR 5015[a][1]; see Rivera v Shypri Realty Corp., 198 AD3d 448, 448-449 [1st Dept 2021]). Plaintiff's conclusory references to "law office failure" and unspecified "personal health issues" of its counsel, without detail or evidentiary support, do not rise to the level of a reasonable excuse for the default (see Liparulo v New York City Health and Hosps. Corp., 193 AD3d 593, 594 [1st Dept 2021], lv dismissed 37 NY3d 1088 [2021]). Because plaintiff failed to demonstrate a reasonable excuse, we need not address whether it had a meritorious claim against defendants or whether it had a defense to the counterclaims (see US Bank N.A. v Brown, 147 AD3d 428, 429-430 [1st Dept 2017]).
We have considered plaintiff's remaining arguments and find them unavailing.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: May 26, 2022








